IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONNA J. THOMAS, ADMINISTRATRIX OF
THE ESTATE OF ANDRE THOMAS,
DECEASED, ON BEHALF OF THE ESTATE

OF ANDRE THOMAS,
Plaintiff Civil Action No. 09-996
V. Judge Nora Barry Fischer
BOROUGH OF SWISSVALE, DEBRA
LYNN INDOVINA-AKERLY, JUSTIN JURY TRIAL DEMANDED

)
)
)
)
)
)
)
)
)
'
LEE KEENAN and GARY DICKSON, )
)
)

Defendants

DEPOSITION TRANSCRIPT EXCERPTS
OF

ABDULREZAK SHAKIR, M.D.

EXHIBIT 2

TO

PLAINTIFEF’S MOTION TO EXCLUDE EXPERT TESTIMONY OF
DEBORAH MASH, PH.D. AND ANY EVIDENCE REGARDING AN
ALLEGED CONDITION REFERRED TO AS EITHER EXCITED
DELIRIUM, AGITATED DELIRIUM AND/OR DRUG-INDUCED
DELIRIUM
10
11
12
13
14
15
16
17
18
19
20
21
a2

23

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANTA

DONNA J. THOMAS, Administratrix
of the Estate of ANDRE THOMAS,
Deceased, on behalf of the Estate
of ANDRE THOMAS,

Plaintiff,
ivil Action

Cc
No. 2:09-cv-996-NBF
BOROUGH OF SWISSVALE; DEBRA LYNN ,

INDOVINA-AKERLEY; JUSTIN LEE

)

)

)

)

)

)

)

Vs. }
)

KEENAN; and GARY DICKSON, )
)

)

Defendants.
DEPOSITION OF ABDULREZAK SHAKIR, M.D.

MONDAY, JULY 18, 2011

Deposition of ABDULREZAK SHAKIR, M.D.,
called as a witness by the Plaintiff, taken pursuant
to Notice of Deposition and the Federal Rules of Civil
Procedure, by and before Joy A. Hartman, a Registered
Merit Reporter and Notary Public in and for the
Commonwealth of Pennsylvania, at the offices of County
of Allegheny, Office of the Medical Examiner, 1520
Penn Avenue, Pittsburgh, Pennsylvania, commencing at

1:30 p.m. on the day and date above set forth.

 

JOHNSON and MIMLESS
(412) 765-0744

 
wera A mW Bw hm

LS nS Et ol
Oye dSeeotQnanRaonrs

eOomem sa A Oh A ow hoe

RS BD ee kee eee pk
OPe SERIA DR wh m=

 

 

 

MR. MESSER: Several.

A. Several of them. At least several of them. I
don't remember.

Q. Ten? Less than ten?

A. It can be ten. It can be, yes. More than ten,

Q. But less than 207

A.  Treaily don't have an idea.

Q. Now, during the time that you performed
autopsies for the Medical Examiner's Office and the
Coroner of Allegheny County, was it your under-
standing that as the prosector on the cases, you were
to determine the cause of death of the unfortunate
deceased?

A. Yes.

Q. Is this done just by yourself, or is there a
process by which the Medical Examiner's Office
undertakes to review the autopsies that are performed
by the forensic pathologists here?

A. That question, I have to explain. In some
occasions where the cause of death is obvious, I
determine that on the autopsy, and it will be my
determination, and the Medical Examiner will be
reviewing my report at the end.

 

OO 7 A em wh RH

BD eee eee
QNvm SSH IQIADERDDIS

 

10

In some cases where there are questions to be
asked and we want to go for further investigation on
the case, whether it is medical investigation or
whether it is other investigations, most of the time,

I will leave the cause of death at the end of the
autopsy as "pending this investigation."

In these situations and in some other
situations like that, complicated situations, in these
situations, I might discuss that with the Medical
Examiner, and I might even discuss it with other
pathologists before reaching the determination.

But in general, it is my responsibility to
determine the cause and manner of death of that
individual.

Q. So would it be fair to say if somebody comes in
with a gunshot wound between the eyes, it is fairly
obvious what happened?

A. That's what we say, yes. In some such
situation, I will not leave the cause of death as
pending other investigation, because it is obvious.
The manner of death might be pending other
investigation, but this is obvious.

But in cases where there are multiple factors

 

 

JOHNSON and MIMLESS
{412) 765-0744

FOHNSON and MIMLESS
(412) 765-0744

 

 

 

11

working, where there is no quick possibility of a
definite determination, in these cases, we usually —
the pathologist will leave it as pending whatever
investigation, and then later on, we reach that.

Q. In fact, that was the situation in the André
Thomas case; is that right?

A, Yes. That is the situation in the André Thomas
case, and in multiple of these in-custody deaths.
Usually, it is net quite obvious.

The only time it is obvious is like when the
police shoot the individual, and that is the easy
ones.

Q. Sure. Well, you are obviously experienced in
stating the cause of death after your autopsies, after
consultation or without, correct?

A. Yes.

Q. In this situation that we are here today about,
which is namely Mr. André Thomas, did you reach the
determination as to cause of death, or did Dr.
Williams reach the determination as to cause of death?

A. J will put it this way: I reached the
determination as to the cause of death after
discussing the case with Dr. Williams. He is the

ee eS eS

boo eet
wh = OS ew AOA Th mh & be

 

 

12

Medical Examiner, and we both agreed on this.

Q. Now, had you ever in any other case established
the cause of death of an individual in any situation
as being the cause of death you ascribed for André
Thomas as agitated delirium?

A. Yes.

Q. On how many different occasions had you done
that?

A. Jremember at least two or three situations,

Q. Now, you are aware that there is a great deal
of controversy about agitated delirium and excited
delirium, true?

MR. HAMILTON:

A. Yes.

Q. Do you consider yourself or is the Medical
Examiner's Office capable of diagnosing either
agitated or excited delirium in-house?

MR. HAMILTON: Object to the form.

A. Yes, We have done this diagnosis before. We
might consult with other places, like in this
situation. For example, we sent specimens from the
brain to this laboratory down in Florida, who they
have certain tests which they cam decide whether it is

Object to the form.

 

JOHNSON and MIMLESS
(412) 765-0744

JOHNSON and MIMLESS
(412) 766-0744
we eaA A HR we hm

Noh bh BD ot oe op
GH SERS AIAKDROEORIS

ERB w wear wo & we

Mb Bee eet
BPE SERIRAaRH DP

 

 

25

cocaine in the benoylegonine, which is also another --
that is another active metabolite of cocaine, so
definitely, he was under the influence of cocaine, and
cocaine by itself can cause him to go into arrhythmia
and death.

Q. Then if you had that information, why did you
put one cause of death in the autopsy report being
agitated delirium?

A. I did not put only agitated delirium, J put
agitated delirium as a result of acute cocaine
intoxication. So J put acute cocaine intoxication.

Q. And "acute" just means immediate, right?

A. Yes.

Q. Now, what led you to the diagnosis of agitated
delirium?

A. Itis—

Q. What facts did you have in your possession that
led you to the diagnosis of agitated delirium as the
cause of death?

A. From the clinical information that I have
received, our information goes with the diagnosis of
agitated or excited delirium.

Q. What was the clinical information, then, that

 

BBM oA a we

el ee ee Se a en |
Se —- Y = @ we

 

26

you had?

A. The clinical information is that an
individual --

(Off the record for cell phone interruption.)

A. --is that an individual who is — an
individual who was agitated, incoherent, going around,
knocking on doors of houses, stating that there are
people going to get him, or there are people going to
kill him, and those individuals who saw him, they are
the individuals who call 911; and then everybody came,
and then the police and the others came.

Q. Anything else?

A. The information that I get from the police is
the same as | get about him being incoherent and
agitated and shouting and all this.

Q. Is that type of behavior consistent with, for
example, meurctic or psychotic behavior?

A.  Itis psychotic in a way, and it can be seen in
individuals under certain drugs like cocaine.

Q. Is there any indication in any of the
information you received that Mr. Thomas attacked the
police or confronted the police or in any way
committed a crime?

 

 

JOHNSON and MIMLESS
{412) 765-0744

JOHNSON and MIMLESS
(412) 765-0744

 

 

 

27

MR. HAMILTON:

A. Noa,

Q. Why was it in this case that you sent samples
or slides of Mr. Thomas' body, and I think it was only
the brain, wasn't it?

A. Yes, the brain.

Q. To Miami to be examined by Dr. Mash?

A. Dr. Mash is conducting a study differentiating
excited delirium due to cocaine or excited delirium
not due to cocaine, and we started sending samples to
her in that respect.

Q. How many samples have you sent to her? Have
you sent -- other than André Thomas’ case, have you
sent other samples te ker?

A, Yes.

Q. On how many different occasions?

A. I don't remember, because some of them might be
cases that I worked on, and some of them might be
cases other pathologists worked on.

Q. What do you understand that she does when she
receives these slides, if you know?

A. She conducts a study regarding the receptors in
the brain, and according toe the receptors, she reach

Object to the form.

BSP OWA MH A wD He

OOS eee ete pet
wey es OM OHA tA Rh & he

 

 

28

that conclusion -- According to her, she reached the
conclusion that it was delirium.

Q. Why did you feel it was necessary to give this
information to her?

A. In our -- when we are trying to reach the cause
of death, the cause and manner of death, we try to get
whatever help we can get or whatever assistance or
clarification. She was doing this study, and we felt
that it might be a confused to us to send.

Q. As you know, this case had some publicity
surrounding it.

4. Most of these cases have some publicity
surrounding them.

Q. And Dr. Williams in the press, and I'm not sure
you were ever quoted, indicated that they were not
going to release the cause of death until the studies
were completed in Miami.

A. He might have said that, yes.

Q. Why was he waiting on those studies? If you
had already reached a diagnosis or a cause of death,
why was he waiting for those studies?

A. We did not reach the diagnosis until after we

get all of those studies.

 

 

JOHNSON ond MIMLESS
(412) 765-0744

JOHNSON and MIMLESS
(412) 765-0744
SP OA AH A we ee

LS a ee Se
WYbdmu Soar AnhhROnDoOS

OO YD A A Rh WwW he

a a oe oe
SNe SESaenannraoDues

 

 

29

Q. Did all of the studies that you made then
confirm this cause of death?

A. Tbelieve so, yes.

Q. And Dr. Mash's report confirmed that, as well,
true?

Yes.

What other studies were there beside Dr. Mash?
The toxicology,

Positive for ethancl and cocaine?

Yes, and for cocaine, yes,

At the point that you knew he had acute cocaine
toxicity, why didn't you diagnose his death then?

A. If this was 1990, E would have diagnosed it at
that time; but the more science gets complicated and
the more there are more specialized studies of these
things, we will try to make use of them.

Q. So is it fair to say without Dr, Mash's report
you would not have diagnosed him as a death caused by
acute agitated -- I'm sorry -- agitated delirium?

MR. HAMILTON: Object to the form,

A, I would ~ without her report, I would diagnose
it as cocaine intoxication, as death due to acute
cocaine intoxication. To me, using the term agitated

O>Ooror

 

Oo 0 SA Tm Ge Boe

Bob bo BS ete
OMe sSeeaanraprts

 

30
delirium or not agitated delirium does not really have
that much importance. To me, this is a complication
of acute cocaine intoxication,

Q. just want to ask you, Doctor, | think you
have in front of you the autopsy report of August 5,
2008, Case No. 08C0R04828, which I believe relates to
André Thomas; is that correct?

‘A. Yes.
MR. MESSER: Do you all havea copy? This
will be No. 1.
(Shakir Deposition Exhibit No, 1 was
marked for identification.)

Q. Do you know, again, of any studies that measure
the impact of a TASER on a person who has used
cocaine?

A. Specifically on a person who has used cocaine,
I don't remember of any study of this type.

Q. The reason I am asking is that in this
situation, FE think your records reflect that he was
Tasered.

A. Yes.
Q. And some of the records reflect that he was

Tasered one time. In fact, he was Tasered three

 

JOHNSON and MIMLESS
(412) 765-0744

‘ TOHRNSON and MIMLESS
(412) 765-0744

 

 

31

times.

A. In fact, the police report indicated that he
was Tasered three times. The point of insertion of
the tip of the TASER on him, I only saw one, and it
could be one, and then --

Q. lam not trying to say you are wrong in your
report. I am just saying can we agree it was three
times?

A. Yes.

Q. I mean, he was shot once, and then they pulled
the trigger three times?

A. Yes. It was three times.

Q. That is what you meant to say?

A. Yes.

Q. Now, do you knew from your personal knowledge
whether or not there has been any attempt to determine
the impact of multiple TASERs on a person who displays
the symptomatology of what we have called agitated
delirium?

A. In general, there are a lot of studies
regarding the TASER's effect and the safety in regard
to the TASER's effect; and there were animal
experimental studies, there were mainly animal

SOO A ew he Re

Be eee tpt.
whee So OM Am te Noe

 

 

32

experimental studies in regard to arrhythmias after
TASERs with these things. So there are a lot of
studies in this respect.

Q. And there are studies that show that the TASER
can cause arrhythmias?

A. There are studies that believe that the TASER
can cause arrhythmias, and especially if the TASER
happened in certain areas of the body, which is in the
vicinity of the heart; and, in fact, there was an
experiment which indicated that it resulted in
arrhythmia when the distance between the TASER
electrode and the heart was only a few millimeters or
less than one centimeter.

And there are people who believe that the TASER
can cause arrhythmia. There are other people that the
TASER is safer than both of us,

Q. But you are not telling us you have an opinion
about that, are you?

A. In this situation, the point of the TASER
electrode was to the back, to the lower back
(indicating) and this is a position that according to
the studies on the TASER did not really consider have
a big danger in resulting in arrhythmia. TASER

 

 

 
SoM OWA om ow we

NMR bo eet eee _
BNE SOeUAR ROD os

~SC OWA Rw oe

Mb Rot eee
wre Sse ranean h

 

 

 

 

42

it, and she is talking about the sites on the Dopamine
transporter, the binding sites on the Dopamine
transporter.

Jam guessing like you. I don't have much idea
about that.

Q. Believe me, if you don't know, just tell me you
don't know, and I will go to the mext question. I am
just trying to educate myself, because I don't have
any idea what most of this means, If you know, tell
me. If not, just tell me,

A. Okay.

Q. In the second paragraph, it says, "A
neurochemical analysis of the number of Dopamine
transporters was completed on this case. The density
and affinity binding parameters were assayed within
the ventromedial putamen" — am I pronouncing that
right?

A. Yes.

Q. P-u-t-a-m-e-n - “using a selective radioligand
and a validated neurochemical assay." Okay? Do you
know what that means?

A. As J indicated, it would be better to go to Dr.
Mash and ask her to explain that to you.

 

JOHNSON and MIMLESS
(412) 765-0744

 

 

41
Pathology Examination"? }
A. Where is that? 2
Q. It is the first paragraph, sir. 3
A. Oh, yes. 4
Q. What does that first paragraph mean in lay 5
terms? 6
A. She did a neurochemical, which means that 7
chemically, she examined the brain, the neuro- 8
transmitters or the brain or something like that. 9
Q. You are not familiar with what this means, I 10
guess? J am just trying to find out what she did. It 11
says she dissected something from the frozen specimen 12
for neurochemical measurement. Do you know what type |13
of neurochemical measurement she was making? 14
A. Ihave no idea, J think the best way is you is
ean ask her. 16
Q. Lam just trying to find out what this means, 17
frankly, because I don't understand it. It says, 18
"density of binding sites." Do you know what binding 19
sites are? 20
A. The binding sites are the sites where the 21
transmitter will go and bind to the cell to result in 22
whatever action it is. That is my understanding of 23
JOHNSON and MIMLESS
(412) 765-0744
43
Q. So you don't know that this means? 1
A. No, I don't. 2
Q. Now she has here, "Reference specimens were 3
included in the assays for direct comparison to 4
normalized values determined for control subjects and §
victims of agitated excited delirium." You don't 6
know? 7
A. Ask her, 8
Q. "The results demonstrated that this case," and 9

I am assuming she means the André Thomas case, "had an | 10

elevated number of Dopamine transporter sites, as li
compared to age-matched and drug-free control 12
subjects." Ask her? 13
A. (The witness nods his head.) 14
Q. You got to say "yes." 15
A. Yes. 16
Q. "The values are provided below," and it says in 17
parentheses, "Table I and Figure 1,"' and then it 18
continues, "and are compared to the reference 19
parameters determined for control subjects, chronic 20
cocaine abusers, and victims of cocaine-related 21
delirium." Ask her? 22
A. Yes. 23

 

 

44

Q. De you know what this table means, Table 1?
Can you interpret that for me?

A. I don't have any idea.

Q. Is that true for the rest of the report, as
well?

A. Yes. The rest of the report, and the main
result that I can see from her report is that she said
that this is a relationship between psychiatric
symptoms and combined metoprolol, which is also
another drug, and cocaine abuse. This is suggested by
the known effects of metoprolol in the CNS. High
concentration of this metoprolol has been associated
with disrupted sleep-wake situation.

Q. I'm sorry. What page are you on?

A. The last page,

Q. The second page?

A. The second page. It says that, "The review of
the incident report for this case suggests that the
decedent was suffering from a drug-induced delirium
prior to death."

Q. So that is what you were interested in her
saying?

A. Yes.

 

JOHNSON and NMIMLESS
(412) 765-0744

JOHNSON and MIMLESS
(412) 765-0744
en es ee

Ne eet
Beeososennraananbis

Oe 1 A th & WG Ww ee

NNN Roe ee
One SonnananaDnrs

 

 

45

Q. This other stuff you don't have any idea about?
A. Yes, This other stuff, she is just explaining
her way of doing and her way of reaching her
conclusion,
Q. Now, do you see on page 3 -- well, it is what
is marked page 4, but it is page 3 of her report?
A. Yes. Yes.
Q. And it looks ike some sort or a chart or a

graph?
A. Yes.
Q. Can you interpret it?
A. Yes,

Q.  Itsays, "Figure 1: Equifibrium saturation
binding" -~ Oh, boy.

A. -- "on membrane homogenates taken from
Allegheny County," I think you get it better if you
ask her,

Q. Is it fair, then, to say when you read her
conclusion that this was an agitated delirium, that
you accepted that conctusion from her report?

A. Yes. And in fact, if you put the whole thing
together, it is a case of cocaine intoxication
resulting in the agitated delirium, resulting in the

 

=eaeP mann bh wm

Nm NM hee Ret
wo bb om tO 6 ~I A h = we bP

 

46

death. Clinically, it is like that, with her report

or without her report.

. What actually killed him?

Arrhythmia.

What physiological —

Arrhythmia, cardiac arrhythmia,

How do you know that?

Because there is no other obvious reason for
that. The mechanism in cases of cocaine intoxication
and in agitated delirium and cocaine intoxication, the
mechanism of death is arrhythmia.

Q. Soifa person knows that an individual has a
symptomatology of acute cocaine intoxication, what
should they do?

MR. HAMILTON: Object to the form.

A. They should observe them. They should attempt
to take care of them, try te calm them down, and all
they can do is observe them.

Q. J believe you told me earlier in the deposition
that the reason that you were waiting for Dr. Mash's
report was to confirm the diagnosis of agitated
delirium, Is that still your testimony?

A. That wasa possibility.

rPOPOPO

 

JORNSON and MIMLESS
(412) 765-0744

JOHNSON and MINLESS
(412) 765-0744

 

 

47

Q. Is it still your testimony?

A, Yes. I mentioned that earlier in the years, we
used to diagnose that as cocaine intoxication without
the results of her tests. Now with these tests
available, we are trying to see if this could support
us more in this reasoning.

Q. Are there any studies, to your knowledge,
indicating that Tasing someone in a state of
excitement may exacerbate the excitement?

A. Well, I don't need the studies to do that; but
that is an obvious ~-

Q. It would exacerbate the excitement?

A, Definitely, because they would get pain due to
the Tasing, and they would get more excited.

Q@. Idon't have a lot more left; but earlier in
the deposition, we talked about the fact that this was
a pending autopsy, so your process would be te
internally review the matter.

A. Yes,

Q. Lnow that based upon Exhibit No. 1, you
talked with Dr, Williams about this?

A. Yes, Right.

Q. Do you remember talking to anybody else?

ee A mh & Woe

BB eee ete
WM om SO OA tr Bm WwW Ne So

 

 

48

A, Eden't remember for that, but we might have
discussed it in the office with other pathologists,
but I don't even remember at that time who were the
pathologists; but definitely, Dr. Williams — that
final decision is done after discussion with Dr.
Williams, yes.

Q. Sois it fair to say, then, he is the only one
you ever remember discussing this with?

A. Yes.

Q. You didn't talk to Dr. Mash about this?

A. No.

Q. How about the District Attorney?

A. Ne. ‘

Q. Did you speak with the District Attorney or

anybody from his office?

A. No,

Q. Now, you were not the only person who attended
the autopsy, as [ understand it; is that right?

A. Yes. There were technicians, there was a
photographer, and there were some --

Q. The police were there, too?

A. Yes, the police were there.

Q. Who where the police that attended? Do you

 
oe eu Au b&w ee

| a ae ee ee
WNeESeanrAnanaay te

Ee evOywAW Aw

he ob Bo et eet
Ove SGeUQAaARS DED

 

 

53

(Shakir Deposition Exhibit No, 7 was

marked for identification.)

Q. I will show you Exhibit No. 7.

A. This is part of the hospital record from UPMC
Braddock Hospital,

Q. That is where he was taken after the police
incident?

A. Yes,

MR. MESSER: We may be mostly done. I
think if we could have one copy for her before
she goes,

(Recess taken at 2:50 p.m., and testimony
was resumed at 2:54 p.m. this date.}

Q. I will show you what is marked as your
Deposition Exhibit No. 5, Dr. Shakir, which is the —
it is the narrative?

A. Yes.
Q. Could you turn to page 4, please?
A. Yes.

Q. Would you please take time to read that?

A. Do you specifically want me to look at anything
to read in it, or are you concerned about anything in
it?

 

meV OU hw wo

NN be oe oe oe pe
Ww Nm So Oo AN tn sg a Hey

 

54

Q. Weil, I will tell you what my concern is. What
my concern is is that it is one-sided. The only thing
on here is police information. Do you see any
information on page 4 of Exhibit § that involves
witnesses' account of what occurred?

A. You see, this is preliminary information that
we receive. We receive it from the person who calls
us,

Q. Sure.

A. We do not -- at this stage of the
investigation, we do not have our investigators down
soliciting witnesses. This is the information that
they receive. Whoever will call in such a situation,
the person that they call is the police usually to see
what happened, and so you see information from the
hospital, information from the police, and this is why
you get that.

Q. Well, were you aware at the time you issued
your final autopsy report and the death certificate
that there were several witnesses who reported that
Mr. Thomas had been beaten prior to his death?

MR. HAMILTON: Object to the form.
MR. MESSER: [am just asking if he is

 

SORNSON and MIMLESS
(412) 765-0744

JOHNSON and MIMLESS
(412) 765-0744

 

 

55

aware.
MR. HAMILTON: Well, you said several
witnesses, and I don't think there are several
witnesses, but that's okay.
MR. MESSER: There are at least four that
I know of out of your reports, so I think that

is several.
Q. Were you aware of that?
A. No.

Q. If, in fact, that beating had occurred, could
that have contributed to Mr. Thomas’ death?

A. [have te see what kind of beating and how it
happened; but the findings in my autepsy, F didn't see
any internal injury that could have resulted in his
death.

Q. Well, you found the hematoma on his Spine —

A. Yes.

Q. -- after you opened his skin, right?

A. Yes.

Q. And that hematoma was an injury that you
reported in your autopsy report, was it not?

A, Yes.

Q. Now, the only way that that hematoma could have

ESM Oa A kw ee

—_
ow bh

ee ee a
ht om SS 1 66 ~2 ON Oh

 

_
*

 

56

occurred is if something had come into contact with
Mr. Thomas’ body at that point, true?

A. Yes, But what I meant is I did not see any
contusion of the heart. I did not see any intra-
cerebral hemorrhage. I did not see any injury inside
him that explained his death.

Q. Explained what?

A. Explained the death, to be a cause of death.

Q. Oh, no. Iam not asking you if it was a cause
of death. I am asking you if, in fact, he was beaten,
would it have contributed to his death?

MR. HAMILTON: Asked and answered, J

object.
A. I don't see in which way it is contributing,

MR. PUSHINSKY: Could it have contributed

to the agitation?
THE WITNESS: The agitation, yes, From
being agitated, yes.
Q. Would those facts have been important to you at
the time you issued your autopsy report?
MR. HAMILTON: Object fo the form.
A. In fact, at the time, I would have liked to
have the knowledge about these.

 

 
